                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              Charlotte
                             _______________    DIVISION
                                        3:16-cv-00650-RJC-DSC
                            DOCKET NO. _______________
 TAMELA T. WALLACE
 __________________________________,            )
                                                )
        Plaintiff,                              )
                                                )
 vs.                                            )           MOTION FOR ADMISSION
                                                )               PRO HAC VICE
 OPTIMUM OUTCOMES, INC., et al.
 __________________________________,            )               and AFFIDAVIT
                                                )
        Defendant.                              )
                                                )
                                                )

                 Bradley Jason Lingo
       NOW COMES _____________________________ (“Local Counsel”), a member in good
standing with the Bar with the United States District Court for the Western District of North
                                                  John P. Brumbaugh
Carolina (“WDNC”), and moves for the admission of ______________________________
                                                 Equifax Information Services LLC
(“Applicant”), who seeks permission to represent ______________________________________
______________________________________________________________________________
_____________________________________________ (“Client”) in this above-captioned case.
       By signing this motion, Local Counsel and Applicant certify that:
       1.      Applicant is a member in good standing of the bar of the highest court of the State
or of the District of Columbia where Applicant regularly practices law, which is
Georgia
______________________________.
       2.      Applicant practices under the name of or as a member of the following firm:
           King & Spalding LLP
Firm Name: ________________________________________________________________
                 1180 Peachtree Street NE
Mailing Address: ____________________________________________________________
                    Atlanta, GA 30309
City / State / Zip: ____________________________________________________________
                  404-572-4600
Telephone Number: ______________________                   404-572-5100
                                         Facsimile Number: __________________
                         pbrumbaugh@kslaw.com
Email Address (required):_____________________________________________________




                                                1



       Case 3:16-cv-00650-RJC-DSC Document 44 Filed 07/25/18 Page 1 of 5
       3.      Applicant certifies that s/he is also admitted to practice before and remains in good
standing with the Courts in the following jurisdictions:
see Exhibit A
______________________________________________________________________________
_________________________________________________________________.
       4.      Applicant certifies s/he has never been the subject of any formal suspension or
disbarment proceedings; never been denied admission pro hac vice in this or any other jurisdiction
or had pro hac vice admission revoked; never had any certificate or privilege to appear and practice
before any judicial or administrative body suspended or revoked; and has never received public
discipline by any court or lawyer regulatory organization. If Applicant cannot so certify, the
applicant has attached a separate explanation including particular information disclosing the
disciplinary history or the denial of admission.
       5.      Applicant certifies that the client requested Applicant to represent it in this matter,
along with Local Counsel.
       6.      Applicant agrees to be subject to the Orders of the WDNC, including the Local
Rules of the WDNC, and amenable to the disciplinary action and the civil jurisdiction of the
WDNC in all respects as if the applicant were a regularly admitted and licensed member of the
Bar of this Court in good standing.
       7.      Local Counsel is satisfied that Applicant is qualified to practice before the Bar of
the WDNC.
       8.      Local Counsel has conferred with counsel for the other parties, who have indicated
     do not oppose this motion.
they _______
       9.      The required fee for admission pro hac vice is being submitted with the filing of
this motion.
       10.     Applicant consents to electronic notification.




                                                   2



      Case 3:16-cv-00650-RJC-DSC Document 44 Filed 07/25/18 Page 2 of 5
            By signing this Motion, we so certify.
                      25th
            This, the _________        July
                                day of _______________________,   18
                                                                20___.


            _________________________________                ____________________________________
            Local Counsel                                    Applicant
      Attorney Name Bradley Jason Lingo
         Bar Number 44018
         Firm Name King & Spalding LLP
       Firm Address 300 South Tryon Street, Suite 1700
Firm City / State / Zip Charlotte, NC 28202
  Telephone Number 704-503-2573
        Fax Number 704-503-2622
      Email Address blingo@kslaw.com




                                                         3



                      Case 3:16-cv-00650-RJC-DSC Document 44 Filed 07/25/18 Page 3 of 5
                                             EXHIBIT A


                                    JOHN P. BRUMBAUGH
                                        Court Admissions
                                  Georgia Bar Number 085378
                                 Florida Bar Number 0137628


Court:                                                        Admission Date:

State of Florida                                              04/23/1998

State of Georgia                                              11/17/1998

U.S. District Court for the Northern District of Georgia      01/04/1999

U.S. District Court for the Middle District of Georgia        07/16/2008

U.S. District Court for the Northern District of Florida      01/05/2011

U.S. District Court for the Middle District of Florida        09/19/2008

U.S. Court of Appeals for the 6th Circuit                     10/21/2008

U.S. Court of Appeals for the 11th Circuit                    Filed 7/13/2018

U.S. Court of Appeals for the 7th Circuit                     05/18/2018
U.S. Court of Appeals for the 2nd Circuit                     7/16/2018




Memberships

American Bar Association

Atlanta Bar Association

Federal Bar Association




      Case 3:16-cv-00650-RJC-DSC Document 44 Filed 07/25/18 Page 4 of 5
                                    CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed a true and correct copy of the

foregoing with the Clerk of the Court using the CM/ECF system which will give notification of

such filing to counsel of record:

M. Shane Perry
COLLUM & PERRY, PLLC
109 W. Statesville Avenue
Mooresville, NC 28115
704-663-4187
Fax: 704-663-4178
Email: shane@collumperry.com

Attorneys for Plaintiff


       This 25th day of July, 2018.

                                            /s/ Bradley J. Lingo
                                            Bradley J. Lingo
                                            LR 83.1 Counsel
                                            North Carolina Bar No. 44018
                                            King & Spalding LLP




       Case 3:16-cv-00650-RJC-DSC Document 44 Filed 07/25/18 Page 5 of 5
